
300 N.Y. 640 (1950)
Ethel S. H. Paolantonio, an Infant, by William C. Hamner, Her Guardian ad Litem, et al., Appellants,
v.
Long Island Rail Road Company, Respondent.
Court of Appeals of the State of New York.
Argued January 4, 1950.
Decided January 12, 1950
Joseph F. O'Brien for appellants.
William F. McNulty, John McKim Minton and Richard R. Bongartz for respondent.
Concur: LOUGHRAN, Ch. J., LEWIS, CONWAY, DESMOND, DYE, FULD and FROESSEL, JJ.
Judgment affirmed, with costs; no opinion.
